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8                             UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     In re Arkady Buzin,                          Case No. 2:21-cv-02036-FLA
12                               Appellant,                  1:20-bk-12030-MT

13                                                  ORDER DISMISSING APPEAL
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16          On March 24, 2021, the court noted that Appellant Arkady Buzin (“Appellant”)
17    had not filed the required statement of issues, designation of record, notice of
18    transcripts, filing fee, or certification of interested parties, and Ordered Appellant to
19    Show Cause (“OSC”) by no later than April 7, 2021, why the appeal should not be
20    dismissed for these deficiencies. Dkt. 10. The court further advised that failure to
21    respond would result in dismissal of this action. Id. Appellant did not file a response
22    to the OSC.
23          The court, therefore, DISMISSES this appeal for failure to prosecute.
24          IT IS SO ORDERED.
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26    Dated: October 29, 2021                 _______________________________
27                                            FERNANDO L. AENLLE-ROCHA
                                              United States District Judge
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